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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION
__________________________________________
                                           )
STATE OF TEXAS, et al.                     )
                                           )
                        Plaintiffs,        )
                                           ) No. 1:14-cv-254
      v.                                   )
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                      [Proposed] Order

        Upon consideration of the Proposed Defendant-Intervenors’ Motion for Leave to
Intervene [ECF No. 91], Defendants’ Opposition thereto, and any other replies or responses
thereto, it is

       HEREBY ORDERED that the Proposed Defendant-Intervenors’ Motion for Leave to
Intervene is DENIED.




Signed on _____________________, 2015.




                                            ___________________________________
                                            The Honorable Andrew S. Hanen
                                            United States District Judge




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